        Case 18-80203-TLS                Doc 15     Filed 03/16/18 Entered 03/16/18 17:45:25                         Desc Main
                                                    Document     Page 1 of 9

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF NEBRASKA

IN THE MATTER OF:                                         )                 BK. NO.               18-80203
                                                          )                 (Chapter 13)
Jon Michael Cady                                          )
                                     ,                    )
                                                          )
                        Debtor(s).                        )

                                         NOTICE TO CREDITORS AND DEBTORS

 The Bankruptcy Court for the District of Nebraska enacts this Local Form Chapter 13 Plan [hereinafter “plan”] under the
 provisions contained in Rule 3015.1 of the Federal Rules of Bankruptcy Procedure. This form plan shall be used for all
 Chapter 13 plans filed on or after the effective date of Rule 3015.1.

 If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
 this plan no later than the date designated in the attached Notice of Resistance Deadline. The Bankruptcy Court may confirm
 or approve this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015.

 You must file a timely proof of claim in order to be paid under this plan.

 In this District, the amount set forth in the claim controls the amount to be paid to a creditor. The value of the collateral set
 forth in the claim controls the amount to be paid subject to the right of the debtor to object to the claim amount and/or the
 valuation of the collateral in the claim. Avoidance of security interests or liens must be done by motion or adversary
 proceeding as appropriate. Interest is paid to secured creditors in the amount and from the date specified in the plan.

 The Debtor acknowledges that the plan does NOT INCLUDE provisions through which the plan ALONE would limit the
 amount of a secured claim or the value of collateral. The Debtor acknowledges that such limit on the amount of the claim or
 the value of the collateral shall be raised by objection to the claim.

 The Debtor acknowledges that the plan does NOT INCLUDE provisions through which the plan ALONE would avoid a
 security interest or lien. The Debtor acknowledges that avoidance of a security interest or lien or the stripping of a lien shall
 be raised by motion or adversary proceeding as appropriate.

 This plan requires that all nonstandard provisions be set forth in PART 11 of the plan and use of PART 11 must be
 identified by checking the box below.

 DEBTORS MUST CHECK ONE BOX BELOW TO STATE WHETHER NONSTANDARD PROVISIONS ARE
 OR ARE NOT CONTAINED IN PART 11 OF THIS PLAN. IF THE BOX IS CHECKED AS “NOT INCLUDED”
 OR IF BOTH BOXES ARE CHECKED, THE PROVISIONS CONTAINED IN PART 11 WILL BE
 INEFFECTIVE.




Nonstandard provisions, set out in Part 11                                      X      Included              Not included

PART 1.     PAYMENTS

The Debtor or Debtors (hereinafter called “Debtor”) submits to the Standing Chapter 13 Trustee all projected
disposable income to be received within the applicable commitment period of the plan. The payment schedule is as
 follows:

A. Monthly Payment Amount       B. Number of payments           Base Amount (A X B)
(include any previous payments)
                                Various/Payments made to date--->
     $1,112                           60                                      $66,720




                                                              Page 1 of 8
        Case 18-80203-TLS               Doc 15       Filed 03/16/18 Entered 03/16/18 17:45:25                            Desc Main
                                                     Document     Page 2 of 9


                                     Total Plan Base Amount:                                 $66,720


The payment shall be withheld from the Debtor's paycheck:                       Yes:         X              No:

Employee's name from whose check the payment is deducted:                  See Part 11 (a)

Employer's name, address, city, state, phone:   See Part 11 (a)

Debtor is paid: Monthly [ ]      Twice Monthly [ ]     Weekly [ ]    Biweekly [ X ]     Other [ ]      See Part 11 (a)

This plan cures any arrearage in payments to the Chapter 13 Trustee under any prior plan in this case.

NOTE: PLAN PAYMENTS TO THE TRUSTEE MUST BEGIN IMMEDIATELY FOR PLANS
REQUIRING PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS OR LEASE PAYMENTS.
IN THOSE CASES PROVIDING FOR EMPLOYER DEDUCTIONS, THE DEBTOR MUST MAKE
DIRECT PAYMENT TO THE TRUSTEE BY MONEY ORDER OR CASHIER’S CHECK UNTIL THE
EMPLOYER DEDUCTION BEGINS. IN CASES WITHOUT PRE-CONFIRMATION PAYMENTS, PLAN
PAYMENTS MUST COMMENCE WITHIN 30 DAYS OF FILING OF THE PETITION. THE DEBTOR
MUST MAKE DIRECT PAYMENT TO THE TRUSTEE UNTIL THE EMPLOYER DEDUCTION
BEGINS.

PART 2.        ORDER OF PAYMENT OF CLAIMS

Applicable Trustee fees shall be deducted pursuant to 28 U.S.C. § 586(e). Claims shall be paid in the following
order; and, unless otherwise provided, claims within each class shall be paid pro rata:

          1.    Pre-confirmation payments for adequate protection or leases of personal property;

          2. Minimum monthly payments to secured creditors listed in PART 6 of this plan, minimum arrearage
             payments and regular executory contract payments due on Executory Contracts and Leases in PART 7
             of this plan, and minimum monthly payments on arrearages on 11 U.S.C. § 507(a)(1)(A) priority
             domestic support claims in PART 5(B) of this plan [NOTE: IF THERE ARE NO MINIMUM
             ARREARAGE PAYMENTS OR REGULAR EXECUTORY CONTRACT PAYMENTS
               DESIGNATED IN THE PLAN, THOSE MONIES WILL BE DISTRIBUTED UNDER # 3 ON
               ATTORNEY FEES];

          3. The Debtor’s attorney’s fees and costs as approved by the Court [NOTE: DEBTOR’S COUNSEL
             SHOULD NOT DESIGNATE A PER MONTH PAYMENT FOR ATTORNEY FEES. UNDER
             THIS ORDER OF PAYMENTS ALL FUNDS WILL BE CODED FOR ATTORNEY FEES
             AFTER THE BEFORE DISCUSSED MINIMUM MONTHLY PAYMENTS AND
             EXECUTORY CONTRACT PAYMENTS];

          4. After payments of the previously listed amounts in (1) through (3) above, additional funds will be
             distributed prorata to secured claims in PART 6, arrearages on Executory Contracts and Leases in
             PART 7 of this plan and domestic support claims under 11 U.S.C. § 507(a)(1)(A) in PART 5(B) of
               this plan;

          5. Other administrative expense claims under 11 U.S.C. § 503 and Chapter 7 Trustee compensation
             allowed under 11 U.S.C. § 1326(b)(3);

          6. Other priority claims in 11 U.S.C. § 507(a) including post-petition tax claims allowed under 11 U.S.C.


                                                             Page 2 of 8
          Case 18-80203-TLS               Doc 15       Filed 03/16/18 Entered 03/16/18 17:45:25                            Desc Main
                                                       Document     Page 3 of 9

                § 1305;

           7. Payments on co-signed unsecured claims listed in PART 8 of this plan;

           8. General Unsecured Claims.

PART 3.        §1326(A) PRE-CONFIRMATION ADEQUATE PROTECTION PAYMENTS
               & LEASE PAYMENTS

The following pre-confirmation adequate protection payments on claims secured by personal property and pre-
confirmation lease payments for lease payments for leases of personal property shall be paid by the Trustee to the below
listed creditors with entry of an order of the Court. The Debtor proposing pre-confirmation payments will immediately
commence plan payments to the Trustee. Creditors must file a timely proof of claim to receive payment. Payments
by the Trustee shall commence to these creditors within 30 days of the filing of the proof of claim unless the Trustee
does not have funds available within 7 working days prior to the end of the 30-day period. Post-confirmation
payments are provided for below in PARTS 6 and 7 of this plan.


                                                                Last Four Digits of     Date of Next
               Creditor's Name and Full Address                                                                      Payment Amount
                                                                 Account Number         Payment Due


Americredit/GM                Attn: BKR, PO Box 183853,
Financial                     Arlington, TX 76096-3853
                                                                    5335                   3/24/2018                            $804



PART 4.        ADMINISTRATIVE CLAIMS

Trustee fees shall be deducted from each payment received by the Trustee.

Neb. R. Bankr. P. 2016-1(A)(4) and Appendix “K” provide for the maximum allowance of Chapter 13 attorney
fees and expenses [Standard Allowable Amount “SAA”] which may be included in a Chapter 13 Plan. Additional
fees or costs in excess of this amount must be approved through the “ALC” Fees process or a separate fee
 application. Fees and costs requested for allowance are as follows:

''SAA'' Fees Requested      Fees Received Prior to Filing                    Balance of ''SAA'' Fees to be Paid in Plan
Fee application to be filed  Fee Application to be filed                               Fee application to be filed
''SAA'' Costs Requested Costs Received Prior to Filing                       Balance of ''SAA'' Costs to Be Paid in Plan
Fee application to be filed  Fee application to be filed                               Fee application to be filed


PART 5.        PRIORITY CLAIMS

11 U.S.C. § 1322(a) provides that all claims entitled to priority under 11 U.S.C. § 507(a) shall be paid in full in
deferred cash payments unless the holder of a particular claim agrees to a different treatment of such claim except
for a priority claim under 11 U.S.C. § 507(a)(1)(B). It is further provided that any and all pre-petition penalties, and
post-petition penalties and interest, which have attached or will be attached to any such claim, shall be treated as a
general unsecured claim and not entitled to priority. Such claims are as follows:

     A.        Domestic Support Obligations

                 [X] None. If ''None'' is checked, the rest of § 5(A) need not be completed or reproduced.

     B.        Arrearages Owed to Domestic Support Obligation Holders Under 11 U.S.C. § 507(a)(1)(A)



                                                               Page 3 of 8
        Case 18-80203-TLS               Doc 15         Filed 03/16/18 Entered 03/16/18 17:45:25                                    Desc Main
                                                       Document     Page 4 of 9


            [X] None. If ''None'' is checked, the rest of § 5(B) need not be completed or reproduced.


   C.     Domestic Support Obligations Assigned To Or Owed to A Governmental Unit Under 11 U.S.C. §
          507(a)(1)(B)

            [X] None. If ''None'' is checked, the rest of § 5(C) need not be completed or reproduced.

   D.     Priority Tax Claims Including Post-Petition Tax Claims Allowed Under 11 U.S.C. § 1305

                       See Part 11 (f).

   E.     Chapter 7 Trustee Compensation Allowed under 11 U.S.C. § 1326(b)(3)

            [X] None. If ''None'' is checked, the rest of § 5(E) need not be completed or reproduced.

   F.     Other Priority ClaimsProvisions for treatment in Part 11 of plan.


PART 6.   SECURED CLAIMS

   A.    Home Mortgage Claims
         (including claims secured by real property which the debtor intends to retain)
      1) [X] None. If ''None'' is checked, the rest of § 6(A) need not be completed or reproduced.
         directly to each mortgage creditor as those payments ordinarily come due beginning with the first
   B.    Post-Confirmation Payments to Creditors Secured by Personal Property. Post -confirmation payments
         to creditors holding claims secured by personal property shall be paid as set forth in subparagraphs (1) and
          (2):

                  1) Secured Claims to which § 506 is NOT applicable:

                                 a.   [X] None. If ''None'' is checked, the rest of § 6(B)(1) need not be completed or reproduced.
                  2) Secured Claims to which § 506 is applicable:

                                 a. [ ] None.
                                 b. Claims listed in this subsection are debts secured by personal property not described in the
                                    prior paragraph of this plan, 6(B)(1)(b). These claims will be paid either the value of the secured
                                    property or the amount of the claim, whichever is less, with interest as provided below. The
                                    portion of a claim that exceeds the value of the secured property will be treated as an unsecured
                                    claim. In this District, the value of the secured property is determined by the proof of claim,
                                    subject to the right of the Debtor to object to such valuation.




                                                                                    Pre-
                                                                               confirmation
                                                                               Interest Rate                   Minimum
                                                                Estimated        & Dollar          Post        Monthly
                                                                  Claim          Amount        Confirmation    Payment     Total Payments Plus
              Name of Creditor        Property Description       Amount        Limit, If Any   Interest Rate   Amount            Interest
                                  Misc. electronics, etc.
          Nebraska Furniture Mart from NFM                           $3,085        6.50%             6.50%           $0                   $3,659



                                                                 Page 4 of 8
        Case 18-80203-TLS                    Doc 15         Filed 03/16/18 Entered 03/16/18 17:45:25                                   Desc Main
                                                            Document     Page 5 of 9



   C.       Surrender of Property

                  1)       [X] None. If ''None'' is checked, the rest of § 6(C) need not be completed or reproduced.



   D.       Lien Avoidance and Lien Stripping

                 1)        [X] None.     If ''None'' is checked, the rest of § 6(D) need not be completed or reproduced.



PART 7.       EXECUTORY CONTRACTS/LEASES

   A.       The Debtor assumes the executory contract/lease referenced below and provides for the regular
            contract/lease payment to be included in the Chapter 13 plan. All other executory contracts and
            unexpired leases are rejected. Any pre-petition arrearage will be cured in monthly payments as noted
            below:

   B.       Check One

            1)               [ ] None.
            2)               [X] Assumed Items:



                                                     Estimated Minimum       Regular
                                                     Arrearages Monthly    Number of
                                           Property      on     Payment to  Contract                Amount of       Due Date
                                          Subject to Executory Be Made On Payments                   Regular        of Regular
                                          Executory Contract as   Exec.    Remaining                Executory       Executory Total Payments (Arrears
                                          Contract / of Date of  Contract as of Date of              Contract        Contract Plus Regular Executory
          Name of Creditor                  Lease      Filing   Arrearage     Filing                 Payment         Payment    Contract Payments)

            Americredit/GM               2017 Chevy
   1        Financial                    Volt             $1,850               $0            31         $804.00      3/24/18                $26,774


   2                                                                           $0            20                                                   $0


   3                                                                           $0            10                                                   $0


PART 8.       CO-SIGNED UNSECURED DEBTS

   A.         [X] None. If ''None'' is checked, the rest of § Part 8 need not be completed or reproduced.



PART 9.       UNSECURED CLAIMS

   A.       Allowed unsecured claims shall be paid pro rata from all remaining funds.


PART 10.      ADDITIONAL PROVISIONS

   A.       If there are no resistances/objections to confirmation of this plan or after all objections are resolved, the Court



                                                                       Page 5 of 8
          Case 18-80203-TLS                        Doc 15         Filed 03/16/18 Entered 03/16/18 17:45:25                                       Desc Main
                                                                  Document     Page 6 of 9

                 may confirm the plan without further hearing.

     B.          Property of the estate, including the Debtor's current and future income, shall revest in the Debtor at the time
                 a discharge is issued, and theDebtor shall have the sole right to use and possession of property of the estate

     C.          In order to obtain distributions under the plan, a creditor must file a proof of claim no later than 70 days after the filing of
                 the petition except as provided in Rule 3002(c) of the Federal Rules of Bankruptcy Procedure.

     D.          Unless otherwise provided in this plan or ordered by the Court, the holder of each allowed secured claim provided for by
                 the Plan shall retain its lien securing such claim as provided in 11 U.S.C. § 1325(a)(5)(B).

     E.          After the bar date to file a proof of claim for non-governmental units passes, limited notice/service is approved for all post
                 confirmation pleadings. Pleadings shall include applications for fees, amended plans and motions. Pleadings shall be served
                 on all parties in interest. For purposes of this limited notice provision, a party in interest is a party whose interest is
                 directly affected by the motion, a creditor who has filed a proof of claim, a party who has filed a request for notice, any
                 governmental agency or unit that is a creditor and allcreditors scheduled as secured or priority creditors. Any pleading filed
                 with limited notice shall include a certificate of service specifically stating it was served with limited notice on all parties in
                 interest pursuant to Neb. R. Bankr. P. 9013-1(E)(1). Failure to comply shall result in deferral of the motion until a
                 proper certificate of service is filed.


PART 11. NONSTANDARD PROVISIONS

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in this Local Form Plan or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective and void.

The following plan provisions will be effective only if there is a check in the box “included” at the end of the opening Notice to Creditors
and Debtors of this plan.

Part 11 (a)

Employee's name whose payroll is deducted:                   Debtor:                                    Co-Debtor:
                                                             Jon M. Cady
Employer's name, address, city, state, phone:                First National Technology
                                                             Solutions, 6200 S. Quebec
                                                             St., Ste 450A, Payroll Dept,
                                                             Englewood, CO 80111



Special Notes:    1. The Trustee shall only implement an employer withholding if specific employer name is listed above.




Debtor is paid:              Bi-Weekly                                                      Co-debtor is paid:


Part 11 (b)                     [X] N/A.


Part 11 (c)

    N/A




                                                                             Page 6 of 8
         Case 18-80203-TLS              Doc 15      Filed 03/16/18 Entered 03/16/18 17:45:25                        Desc Main
                                                    Document     Page 7 of 9


Part 11 (d)

   N/A


Part 11 (e)

   N/A


Part 11 (f)    Priority Tax Claims Including Post-Petition Tax Claims Allowed Under 11 U.S.C. § 1305

Name of Creditor, Estimated Amount of Claim and Interest rate to be paid on said claim, if any.

Name of Creditor                                Estimated Amount of Claim                                       Interest Rate
Nebraska Department of Revenue                              $500.00                                                        4.50%
N/A                                                            N/A                                                            N/A


Part 11 (g)

   N/A

Part 11 (h) OTHER MISCELLANEOUS PROVISIONS TO PLAN:

1. The Debtor shall pay back his 401(k) loan with with FNBO directly via withholdings from his wages.
2. The Debtor has approximately 31 remaining lease payments on his vehicle. When the lease only has a few more
months left, the Debtor will seek permission to obtain another vehicle (purchase or lease) and amend Plan and/or
Schedules accordingly.
3. Per Appendix K[4][e], Debtor's counsel is the successor attorney for the Debtor and elects to file a fee application.




                                                NOTICE OF RESISTANCE DEADLINE

              ANY RESISTANCE TO THIS PLAN OR REQUEST FOR A HEARING MUST BE FILED IN WRITING WITH THE
              BANKRUPTCY CLERK’S OFFICE (SEE ORIGINAL NOTICE OF BANKRUPTCY FOR ADDRESS) AND SERVED ON
              THE ATTORNEY FOR THE DEBTOR AT THE ADDRESS LISTED BELOW (OR SERVED ON THE DEBTOR, IF NOT
              REPRESENTED BY AN ATTORNEY), ON OR BEFORE:

              (USE OPTION A OR B – AND CHECK ONE OF THE BOXES – SEE LOCAL COURT RULES)




                 A.                   14 DAYS AFTER THE CONCLUSION OF THE MEETING OF CREDITORS


                                                                      OR

                             X        4/17/2018 (USE A CALENDAR DATE WHICH IS AT LEAST 21 DAYS AFTER THE
                                                 THE DATE THE THE PLAN IS FILED WITH THE COURT)

              IF A TIMELY RESISTANCE OR REQUEST FOR A HEARING IS FILED AND SERVED, THE BANKRUPTCY COURT
              WILL HANDLE THE RESISTANCE IN ACCORDANCE WITH NEB. R. BANKR. P. 3015-2. IF THERE ARE NO
              OBJECTIONS TO THE PLAN AS FILED, THE COURT MAY CONFIRM THE PLAN WITHOUT FURTHER



                                                            Page 7 of 8
Case 18-80203-TLS                Doc 15        Filed 03/16/18 Entered 03/16/18 17:45:25                                 Desc Main
                                               Document     Page 8 of 9

  HEARING.




                                                  CERTIFICATE OF SERVICE

            On 3/16/2018 the undersigned mailed a copy of this plan to all creditors, parties in interesst and those
  requesting notice by regular United States mail, postage prepaid. The parties to whom notice was mailed are either listed
  below or on the attached mailing matrix. The undersigned relies on the CM/ECF system of the United States Bankruptcy
  Court to provide service to the following: Kathleen A. laughlin, Standing Chapter 13 Trustee, District of Nebraska.



  Dated:         3/16/2018                             Jon Michael Cady
                                                                                                   ,
                                                                                                   Debtor(s)

                                              By:      /s/ John T. Turco
                                                       John T. Turco, #19143
                                                       John T. Turco & Associates, P.C., L.L.O.
                                                       2580 South 90th St.
                                                       Omaha, NE 68124
                                                       Telephone: (402) 933-8600
                                                       Fax number: (402) 934-2848
                                                       John.Turco@JohnTurcoLaw.com
                                                       Attorney for Debtor(s)



  By filing this document, the Attorney for the Debtor(s) or the Debtor(s) themselves, if not represented by an
  attorney certify(ies) that wording and order of the provisions in this Chapter 13 plan are identical to those
  contained in the Local Chapter 13 Plan for the United States Bankruptcy Court for the District of Nebraska, other
  than any nonstandard provisions included in PART 11 of this plan.




                                                         Page 8 of 8
             Case 18-80203-TLS             Doc 15   FiledExhibit "A" Entered 03/16/18 17:45:25
                                                          03/16/18                                   Desc Main
                                                    Document      Page 9 of 9
Americredit/Gm Financial                       Barclays Bank Delaware              Capital One
Attn: Bankruptcy                               100 S West St                       Attn: General Correspondence / Bankrupt
PO Box 183853                                  Wilmington, DE 19801-5015           PO Box 30285
Arlington, TX 76096-3853                                                           Salt Lake City, UT 84130-0285



Centris Fed Credit Uni                         Centris Federal Credit Union        Chase Card
Attn: Bankruptcy                               11825 Q St                          PO Box 15298
11825 Q St                                     Omaha, NE 68137-3503                Wilmington, DE 19850-5298
Omaha, NE 68137



Citicards Cbna                                 Department of Education             Discover Financial
Citicorp Credit Svc/Centralized Bankrupt       Office of General Counsel           PO Box 3025
PO Box 790040                                  400 Maryland Avenue SW              New Albany, OH 43054-3025
Saint Louis, MO 63179-0040                     Washington, DC 20202-0008



Equifax Information Services, LLC              Experian                            FedLoan Servicing
PO Box 740256                                  PO Box 2002                         Attention: Bankruptcy
Atlanta, GA 30374-0256                         Allen, TX 75013-2002                Harrisburg, PA 17106-9184




Internal Revenue Service                       Jon M. Cady                         National Account Systems of Omaha
Centralized Insolvency Operation               7003 Josephine St.                  PO Box 45767
P.O. Box 7346                                  La Vista, NE 68128                  Omaha, NE 68145-0767
Philadelphia, PA 19101-7346



Nebraska Department of Revenue                 Nebraska Furniture Mart             Sarpy County Attorney
Attn: Bankruptcy Unit                          Attn: Collections                   1210 Golden Gate Dr
P.O. Box 94818                                 PO Box 2335                         Papillion, NE 68046
Lincoln, NE 68509-4818                         Omaha, NE 68103-2335



Sarpy County Treasurer                         Thomas C. Underwood, Esq.           TransUnion
1210 Golden Gate Dr                            105 N. 31st St., Ste 211            PO Box 2000
Papillion, NE 68046                            Omaha, NE 68131                     Chester, PA 19016-2000




United States Attorney s Office- Omaha         USAA Svg Bk                         Verizon Wirelesss
1620 Dodge St, Ste 1400                        Attn: Bankruptcy                    Bankruptcy Administration
Omaha, NE 68101                                10750 McDermott Fwy                 500 Technology Drive, Ste 550
                                               San Antonio, TX 78288-0002          Saint Charles, MO 63304
